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 1                       UNITED STATES DISTRICT COURT
 2                      CENTRAL DISTRICT OF CALIFORNIA

 3                                          ****
 4   UNITED STATES OF AMERICA,              )
                                            )
 5                     Plaintiff,           )
 6                                          )   CASE NO. 2:24-CR-00091-ODW
     V.                                     )
 7                                          )
 8   ALEXANDER SMIRNOV,                     )
                                            )
 9                     Defendant,           )   [PROPOSED] ORDER
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11         Upon reviewing Defendant's Motion in Limine to Take Judicial Notice of the
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     Contents of the Official Transcript of the Hearing held on July 26, 2023 in the
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14   District of Delaware in: 1) United States v. Robert Hunter Eiden, CR No. 23-61-MN
15   (D. Del. 2023); and 2) United States v. Robert Hunter Eiden, CR No. 23-mj-274-
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     MN (D. Del. 2023), and the Government's Opposition to that Motion, it is hereby:
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18         ORDERED that Defendant's Motion In Limine is GRANTED, as follows.
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           1.    It is furthered ORDERED that said Transcript will be admitted into
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21               evidence subject to the Defendant establishing its admissibility under
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                 the Federal Rules of Evidence.
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 1        2.    It is further ORDERED that nothing in the contents of the present Order
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                addresses in any way the truthfulness or veracity of any of the
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 4              arguments or ruling recorded in said Transcript of July 26, 2023.

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 7        IT IS SO ORDERED.
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10
          DATE                                  HONORABLE OTIS D. WRIGHT II
11                                              UNITED STATES DISTRICT JUDGE
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